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                EXHIBIT 29
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                                             Volume 1

                                             Pages 1 - 144

                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable James Donato, Judge

IN RE GOOGLE PLAY STORE                   )
ANTITRUST LITIGATION                      )         NO. 21-md-02981-JD
__________________________________________)
                                          )
THIS DOCUMENT RELATES TO:                 )
                                          )
Epic Games, Inc. vs. Google LLC, et al., )
Case No. 3:20-cv-05671-JD                 )
                                          )
In Re Google Play Consumer Antitrust      )
Litigation, Case No. 3:20-cv-05671-JD     )
                                          )
State of Utah, et al. v. Google LLC,      )
et al., Case No. 3:21-cv-05227-JD         )
                                          )
Match Group, LLC, et al. vs. Google LLC, )
et al., Case No. 3:22-cv-02746-JD         )
__________________________________________)

                               San Francisco, California
                               Thursday, January 12, 2023

                     TRANSCRIPT OF PROCEEDINGS

         IN RE EVIDENTIARY HEARING ON CHAT PRESERVATION

APPEARANCES:

For Plaintiff Epic Games in C 20-05671 JD:
                       CRAVATH SWAINE AND MOORE LLP
                       825 Eighth Avenue
                       New York, New York 10019
                  BY: LAUREN ANN MOSKOWITZ, ATTORNEY AT LAW
                       GARY A. BORNSTEIN, ATTORNEY AT LAW

          (APPEARANCES CONTINUED ON FOLLOWING PAGE)

REPORTED BY:   Ana Dub, RDR, RMR, CRR, CCRR, CRG, CCG
               CSR No. 7445, Official United States Reporter
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                                  PROCEEDINGS

1    you know of ever do any kind of an analysis or study to figure

2    out how expensive it would be or how burdensome it would be to

3    preserve chats just for this case?

4         THE WITNESS:    I don't know.

5         THE COURT:    You didn't do that?

6         THE WITNESS:    I didn't.

7         THE COURT:    And you don't know anybody else who did?

8         THE WITNESS:    No.

9         THE COURT:    Okay.

10        Okay.    Thanks.   Careful on the way down.      It's a steep,

11   steep step.

12        THE WITNESS:    Okay.    Thank you.

13                              (Witness excused.)

14        THE COURT:    Okay.    Who's next?

15        MR. KRAVIS:    Jonathan Kravis, Your Honor.

16        Google calls Mr. Jamie Rosenberg.

17    (Witness enters the courtroom and steps forward to be sworn.)

18        THE WITNESS:    Okay.

19        THE CLERK:    Please raise your right hand.

20                              JAMIE ROSENBERG,

21   called as a witness for the Defendants, having been duly sworn,

22   testified as follows:

23        THE WITNESS:    I do.

24        THE CLERK:    Please be seated.

25        Please --
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                           ROSENBERG - DIRECT / KRAVIS

1          THE COURT:    We're going to have to move it along a bit --

2    okay? -- because we're getting short on time.

3          MR. KRAVIS:    Yes, Your Honor.

4          THE COURT:    Go ahead.

5          I'm sorry, Ms. Clark.

6          MR. KRAVIS:    Good afternoon, sir.

7          THE CLERK:    One second.

8          Please state your full name for the Court and spell your

9    last name.

10         THE WITNESS:    My name is Jamie Rosenberg,

11   R-o-s-e-n-b-e-r-g.

12         THE CLERK:    Thank you.

13                             DIRECT EXAMINATION

14   BY MR. KRAVIS:

15   Q.    Good afternoon, sir.

16   A.    Good afternoon.

17   Q.    What is your name?

18   A.    My name is Jamie Rosenberg.

19   Q.    Where are you employed?

20   A.    Well, I'm currently a part-time advisor at Google.

21   Q.    And how long have you worked at Google?

22   A.    I was in a full-time capacity for 12 years up until

23   September of 2022 and then, after a short break, moved into

24   this part-time role in November.

25   Q.    What was the last full-time position that you held at
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                          ROSENBERG - CROSS / MOSKOWITZ

1    Q.    So you're referencing in an e-mail the fact that you had a

2    Google Chat conversation with Mr. Kolotouros about negotiations

3    with Samsung; correct?

4    A.    Yes.

5    Q.    And those chats no longer exist; right?

6    A.    I assume they don't.

7    Q.    And they no longer exist because when you had those

8    conversations, your chat history was turned off and so was

9    Mr. Kolotouros's; correct?

10   A.    I can't speak for his, but mine was turned off.

11   Q.    You also understood that he kept his off too?

12   A.    I -- I didn't -- didn't know that.

13   Q.    Okay.   All right.    Well, we have his testimony.

14         So the only reason we ever knew that these chats even

15   existed is the mention of them in an instant message -- I'm

16   sorry -- of an instant message in this e-mail; right?

17   A.    I assume so.

18   Q.    Okay.   Can I get your agreement that the IM chat

19   referenced in this e-mail was not the only conversation you had

20   with Mr. Kolotouros about the status of negotiations with

21   Samsung and other OEMs?

22   A.    Not the only conversation --

23   Q.    This wasn't the only chat you ever had with him; right?

24   A.    I don't -- I don't know if it was.

25   Q.    Do you think it was even possible that that was the single
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                           ROSENBERG - CROSS / MOSKOWITZ

1    certain issues in those trainings?

2    A.     I don't recall.

3    Q.     Do you ever recall getting trained on moving conversations

4    over to Chat in connection with those trainings?

5    A.     I don't recall.

6    Q.     Okay.   Well, we'll reserve that for closing.         I'll move

7    on.

8           During your time at Google, you kept your chat history off

9    the entire time; correct?

10   A.     Correct.   I didn't change the default.

11   Q.     And when you were deposed on February 10th of 2022, your

12   chat history was still turned off; correct?

13   A.     Correct.

14   Q.     You have done nothing to preserve chats for purposes of

15   this litigation; correct?

16   A.     I have not done anything to preserve chats for this

17   litigation.

18          MS. MOSKOWITZ:    I pass the witness, Your Honor.

19          THE COURT:    Did you get one of those litigation hold

20   notices for this case?

21          THE WITNESS:    I did.

22          THE COURT:    Okay.

23          Okay.   Is that it?

24          MR. KRAVIS:    Your Honor, may I just very briefly inquire

25   about these exhibits?
